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                          UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                        )
LINCOLN-SUDBURY REGIONAL                )
SCHOOL DISTRICT,                        )       Civil Action
                                        )       No. 1:16-CV-10724-FDS
                           Plaintiff,   )
v.                                      )
                                        )
MR. AND MRS. W.,                        )
                                        )
                           Defendants )
WALLIS and                              )
MR. and MRS. W.,                        )
                                        )
            Plaintiffs-in-Counterclaim )
v.                                      )
                                        )
LINCOLN-SUDBURY REGIONAL                )
SCHOOL DISTRICT and                     )
                                        )
BUREAU OF SPECIAL EDUCATION             )
APPEALS,                                )
            Defendants-in-Counterclaim. )
____________________________________)

   MRS. AND MRS. W’s MOTION FOR SUMMARY JUDGMENT ON PLAINTIFF’S
                      CLAIM FOR ATTORNEY’S FEES

       Pursuant to Fed. R. Civ. P. 56, Mr. and Mrs. W hereby moves for Summary Judgment in

the above-referenced matter, and requests that the court allow their motion and enter judgment

dismissing the plaintiff’s complaint for attorney’s fees.

       As set forth in their Memorandum of Law in support of this motion, there are no genuine

issues of material fact and the plaintiff cannot meet its burden to show that the claim filed by the

movants with the BSEA was frivolous or brought with improper purpose. As a result, the

movants are entitled to judgment as a matter of law and the plaintiff’s complaint must be

dismissed and judgment entered in favor of the movants.
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       WHEREFORE, the movants respectfully requests that the court allow their Motion for

Summary Judgment.



Dated: June 6, 2017                                Respectfully submitted,
                                                   For Mr. and Mrs. W.,

                                                   /s/ John N. Morrissey
                                                   John N. Morrissey, BBO # 664579
                                                   1 Mary’s Way
                                                   Lincoln, MA 01773
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                                 CERTIFICATE OF SERVICE
      I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on June 6, 2017.
                                                      /s/ John N. Morrissey
                                                      John N. Morrissey




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